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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                            HOUSTON DIVISION
DWIGHT RUSSELL, ET AL.
    On behalf of themselves and all
    Others similarly situated,
    Plaintiffs,

v.
                                               C.A. No. 4:19-CV-00226
HARRIS COUNTY, TEXAS, ET AL.,
    Defendants.




                             Exhibit O
             Example of Phone Calls Received by Felony Judges
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From:                   (DCA)                   @justex.net>
Sent: Monday, March 01, 2021 3:05 PM
To:      , Judge       (DCA)              s@Justex.net>
Subject: Phone Call received today at 2:54 pm fro Amy Currle

Judge, I received a phone call today at 2:54. (the name on the caller ID was Amy Currle). The caller did not give her name
but wanted to know if this was the office of Judge        I responded by answering “Yes, this is the        . The caller
went on to say that Judge        better start having hearings to let people out of jail and other hearing she mentioned
by number, and to let Judge        know that you are being watched. The caller repeated three times, let her know she’s
being watched.

(I was in my office when the call was answered.)



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